Case 2:07-md-01873-KDE-MBN Document 14456 Filed 06/22/10 Page 1 P4] (246

& AO 440 (Rey, 04/08) Civil Summons

UNITED STATES DISTRICT COURT

for the Rd

Eastern District of Louisiana

Patricia Hart
Plaintiff
v.

Keystone RV Company, Fluor Enterprises, Inc., and
United States of America through the Federal
Emergency Management Agency
Defendant

Civil Action No. 0 0 = OR 8 a 2
SECT. MAG. 5

Ne Nee See nee Nee”

Summons in a Civil Action

To: (Defendant's name and address)
Administrator of FEMA
R-DavidPaulisen— CRAIC -~UGATE
500 C. Street S.W.
Washington, DC 20472

A lawsuit has been filed against you.

Within bo days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the ae s attorney, whose name and address are:

Justin I.

Gainsburgh, Benjamin, David
Meunter & Warshauer, LLC.

2800 Energy Centre-1100 Poydras
New Orleans, La. 70163-2800

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

LORETTA G. WHYTE

MAR - 3 2008 Nasne of clerk of court

Date: C Banas Cl £9->y
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(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule !2(a)(3).)
Case 2:07-md-01873-KDE-MBN Document 14456 Filed 06/22/10 Page 2 of 3

% AO 440 (Rev. 04/08) Civil Summons (Page 2)

Proof of Service

| declare under penalty of perjury that | served the summons and complaint in this case on

by:

(1) personally delivering a copy of each to the individual at this place,

> OF

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

; OF
(4) returning the summons unexecuted to the court clerk on ; or
(5) other (specif)
My fees are $ for travel and $ for services, for a total of $ 0.00

Date:

Server's signature

Printed name and title

Server's address
Case 2:07-md-01873-KDE-MBN Document 14456 Filed 06/22/10 Page 3 of 3

UNITED STATES POSTAL SERVICE First-Class Mail
Postage & Fees Paid
USPS

Permit No. G-10

° Sender: Please print your name, address, and ZIP+4 in this box *

Justin I. Woods, Esq.

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

Formaldehyde 09-2887, Patricia Hart

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A. Signature . seit ent
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04 Domestic Return Receipt
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PS Form 3811, February
